97 F.3d 1449
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Pete SMITH, Plaintiff-Appellant,v.Greensboro Chief of Police, DAUGHTRY;  S. Langhole, Officer,Defendants-Appellees.
    No. 96-7099.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 2, 1996.
    
      Pete Smith, Appellant Pro Se.
      M.D.N.C.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order adopting the magistrate judge's order and dismissing without prejudice Appellant's 42 U.S.C. § 1983 (1994) complaint.  The district court's dismissal without prejudice is not appealable at this time, given the fact that Appellant could save his complaint through amendment.   Domino Sugar Corp. v. Sugar Workers' Local Union 392, 10 F.3d 1064 (4th Cir.1993).  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1994), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1994);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    